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                                    - ,%-rCfl
                                     -


                                                                                  December       1,   2021
                                    CoP'
[SEALEDI                       UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS
                                                                                     By'     SA..J
                                   SAN ANTONIO DIVISION                                                Deputy



                                                       Case No: SA-21-CR-00531-JKP
  UNITED STATES OF AMERICA

  Plaintiff

  V.
                                                       INDICTMENT
  (1) TIMOTHY BLAND
        aka "GRANDMA"                                  COUNT 1: Vio: 21 U.S.C. § 841(a)(1) &
                                                       841(b)(1)(A)I(B) and 846: Conspiracy to
  (2) CRANDALL JONES
                                                       Possess With Intent to Distribute
        aka "PUN1E"
                                                       Methamphetamine
  (3)LUIS TOVIAS                                       COUNT 2: Vio: 21 U.S.C. § 841(a)(1) &
                                                       841(b)(1)(B): Possession With Intent to
  (5) PAMELA FELITA BREEDING                           Distribute 50 grams or more of
  (6) TIMOTHY ELVIN BREEDING                           Methamphetamine
          aka "LITTLE TIM"                             COUNT 3: Vio: 21 U.S.C. § 841(a)(1) &
          aka "LITTLE T"                               841(b)(1)(B): Possession With Intent to
          aka "JUNIOR"                                 Distribute 50 grams or more of
                                                       Methamphetamine




  (10) TONYA VO                DLETON-
  HARRIS
  (11) DANA HARRINGTON



  Defendants

 THE GRAND JURY CHARGES:
                                            COUNT ONE
                         [21 U.S.C. §    841(a)(1) & (b)(1)(A)/(B) and 846]

        Beginning on or about January 12, 2021, the exact date unknown, and continuing until

 the date of this indictment, in the Western District of Texas, Defendants,
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                                   (1) TIMOTHY BLAND aka "GRANDMA"
                                     (2) CRANDALL JONES aka "PUNIE"
                                             (3) LUIS TOVIAS

                         (5) PAMELA FELITA BREEDING
     (6) TIMOTHY ELVIN BREEDING  aka "LITTLE TIM" aka "LITTLE T" aka "JUNIOR"




                              (10)     TOi'A VONCI MIDDLETON-HARRIS
                                          (1 1)   DANA HARRINGTON


knowingly and intentionally conspired, combined, confederated and agreed together, and with

etch other, and with others, to           comit     the following offenses against the United States: to

distribute a controlled substance, which offense involved methamphetamine, a Schedule II

Controlled Substance, contrary to Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),

841(b)(1)(B) and 846.

                          CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY
                  t
         The quantity   of'    .        ure or substance containing a controlled substance involved in the
                                                    A
consjacy and attributa    e to each Defendant           a result of each Defendant's own conduct and as a result

    the conduct of other consators reasonably foreseeable to each Defendant is as follows:

        DEFENDANT                                                      QUANTITY

Timothy Bland (1)                      500 grams or more of a mixture or substance containing a detectable amount
I                                  '    f methamphetaminc
Crandall Jones (2)                     500 grams or more of a mixture or substance containing a detectable amount
                                       of methamphetamine;

Luis Tovias (3)                        500 grams or more of a mixture or substance containing a detectable amount
                                       of methamphetamine

                                       500 grams or more of a mixture or substance containing a detectable amount
                                       of methamphetamine
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Pamela Felita Breeding (5)      500 grams or more of a mixture or substance containing a detectable amount
                                of methamphetamine


Timothy Elvin Breeding (6)      500 grams or more of a mixture or substance containing a detectable amount
                                of methamphetamine

__________________              500 grams or more of a mixture or substance containing a detectable amount
                                of methamphetamine


                                500 grams or more of a mixture or substance containing a detectable amount
                                of mcthamphctaminc

                                500 grams or more ofa mixture or substance containing a detectable amount
                                of methamphetamine

Tonya Vonci Middleton-Harris    500 grams or more of a mixture or substance containing a detectable amount
                                of methamphetamine
(10)

Dana Harrington (11)            50 grams or more of a mixture or substance containing a detectable amount
                                of methamphetamine

                                50 grams or more of a mixture or substance containing a detectable amount
                                of methamphetamine


                                          COUNT TWO
                               [21 U.S.C. § 841(a)(1) & (b)(1)(B)]

         That on or about January 12, 2021, in the Western District of Texas, Defendant,




did knowingly, intentionally and unlawfully possess with the intent to distribute, a controlled

substance, which offense involved 50 grams or more of a mixture or substance containing

Methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Section 841(a)(1) & (b)(1)(B).

                                        COUNT THREE
                               [21 U.S.C. § 841(a)(1) & (b)(1)(B)]
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        That on or about February 24, 2021, in the Western District of Texas, Defendants,




did knowingly, intentionally and unlawfully possess with the intent to distribute, a controlled

substance, which offense involved 50 grams or more of a mixture or substance containing

Methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Section 841(a)(1) & (b)(1)(B).

    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                        ISee Fed. R. Crim. P. 32.21

                                                  I.
                           Drug Violations and Forfeiture Statutes
        [Title 21 U.S.C. § 846, 841(a)(1), (b)(1)(A) and (b)(1)(B), subject to forfeiture
                        pursuant to Title 21 U.S.C. § 853(a)(1) and (2)J

       As a result of the criminal violations set forth in Count One through Three, the United

States gives notice to the Defendants of its intent to seek the forfeiture of the properties described

below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 21 U.S.C.      §   853(a)(l) and

(2), which states:

       Title 21 U.S.C. § 853. Criminal forfeitures
               (a) Property subject to criminal forfeitures.
               Any person convicted of a violation of this subchapter or subchapter II punishable
               by imprisonment for more than one year shall forfeit to the United States,
               irrespective of any provision of State law.--
                       (1) any property constituting, or derived from, any proceeds the person
                       obtained, directly or indirectly, as the result of such violation;
                       (2) any of the person's property used, or intended to be used, in any
                       manner or part, to commit, or to facilitate the commission of, such
                       violation; .   .




This Notice of Demand for Forfeiture includes but is not limited to the following properties:

                                          Real Pronerties
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          1. Real  Property located and situated at 3527 Tampa St., Houston, Harris County,
             Texas, with all buildings, appurtenances, and improvements thereon and any and
             all surface and sub-surface rights, title, and interests, if any, and being more fully
             described as follows:

             Lot 20, Block I of Terrace Oaks, an Addition in Harris County, Texas according to
             the map or plat thereof, recorded in Volume 25, Page 24 of the Map Records of
             Harris County, Texas.




ASHLEY C. HOFF
United States Attorney



By:
         gA
      For SARAH ELLA SPEARS
      Assistant United States Attorney
